
27 A.3d 564 (2011)
421 Md. 553
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Lucille Saundra WHITE.
Misc. Docket AG No. 66, September Term, 2010.
Court of Appeals of Maryland.
September 9, 2011.
James P. Botluk, Asst. Bar Counsel (Glenn M. Grossman, Bar Counsel, Atty. Grievance Commission of Maryland), for petitioner.
Lucille Saundra White, Largo Maryland, for respondent.
Panel: BELL, C.J., HARRELL, BATTAGLIA, GREENE, MURPHY, ADKINS and BARBERA, JJ.
PER CURIAM ORDER.
Upon consideration of the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 16-773, the responses to the show cause order, and oral argument presented at a hearing held before this Court on September 1, 2011, it is this 9th day of September, 2011
ORDERED, by the Court of Appeals of Maryland, that the petition be, and it is hereby granted, and Lucille Saundra White is disbarred, effective immediately, from the practice of law in this State; and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Lucille Saundra White from the register of attorneys in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial *565 tribunals in the State in accordance with Rule 16-760(e).
